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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division
NICOLE SWANN


       Plaintiff,
vs.                                                  Case No.:


BARCLAY TOWERS II TIME SHARE
                                                                                FILED
OWNERS ASSOCIATION, INC., a
Virginia Corporation
                                                                                 2 8 2012
       Defendant.
                                                                     CLERK, US DISTRICT COURT
                                                                            NORFOLK. VA
                                          COMPLAINT


       Plaintiff, Nicole Swann ("Plaintiff), through her undersigned counsel, hereby files this


Complaint and sues Barclay Towers II Time Share Owners Association, Inc.,. a Virginia


corporation, for injunctive relief, attorney's fees and costs pursuant to 42 U.S.C. §12181, et.seq.,


("AMERICANS WITH DISABILITIES ACT" or "ADA") and alleges:


                              JURISDICTION AND PARTIES


       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans With Disabilities Act, 42 U.S.C. §12181 et. seq. (hereinafter referred to as the


"ADA").


       2.      This Court is vested with original jurisdiction under 28 U.S.C. §§1331 and 1343.


Venue is proper in this Court pursuant to 28 U.S.C. §1391(B) and Local Rules of the United


States District Court for the Eastern District of Virginia, Western Division.


       3.      Plaintiff, Nicole Swann (hereinafter referred to as "Swann") is a resident of the


State of Virginia and is a qualified individual with a disability under the ADA.     Swann suffers


from what constitutes a "qualified disability" under the Americans With Disabilities Act of 1990,

("ADA") and all other applicable Federal statutes and regulationsto the extent that she requires a

wheelchair for mobility and has limited use of her upper extremities.       Prior to instituting the
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instant action, Swann personally visited the Defendant's premises, Barclay Towers Resort

Hotel, located at 809 Atlantic Avenue,Virginia Beach, VA, (hereinafter referred to as the

"Hotel"), and was denied full, safe and equal access to the Defendant's premises due to the

barriers to access which exist and the Defendant's lack of compliance with the ADA. Swann

intends to and continues to desire to visit the Defendant's premises but continues to be denied

full, safe and equal access due to the barriers to access and violations which continue to exist.


       4.      The Defendant, Barclay Towers II Time Share Owners Association, Inc., a


Virginia corporation, (hereinafter referred to as "Barclay Towers") is authorized to conduct and

is conducting business in the State of Virginia. Upon information and belief, Barclay Towers is


the owner, lessee, and/or operator of the Hotel.


       5.      All events giving rise to this lawsuit occurred in the Eastern District of Virginia in


Virginia Beach.


       COUNT I - VIOLATION OF THE AMERICANS WITH DISABILITIES ACT



       6.      On or about July 26, 1990, Congress enacted the Americans With Disabilities Act


("ADA"), 42 U.S.C. §12101 et. seq.      Commercial enterprises were provided one-and-a-half years from

enactment of the statute to implement its requirements. The effective date of Title III of the ADA was

January 26, 1992.42 U.S.C. §12181; 20 C.F.R. §36.508(A).


        7.        Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the establishment owned

and/or operated by Barclay Towers       is a place of public accommodation in that it is a Hotel, which

provides goods and services to the public.

        8.   Defendant, Barclay Towers       has discriminated, and continues to discriminate against the


Plaintiff, and others who are similarly situated, by denying access to, and full and equal enjoyment of

goods, services, facilities, privileges, advantages and/or accommodations at the HOTEL in derogation of

42 U.S.C. § 12101 et. seq.
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          9.       The Plaintiff has been unable to and continues to be unable to enjoy access to, and the

benefits of the services offered at the Hotel.      Prior to the filing of this lawsuit, the Plaintiff visited the

Defendant's premises and was denied access to the benefits, accommodations and services of the

Defendant's place of public accommodation and therefore suffered an injury in fact. In addition, the


Plaintiff continues to desire and intends to visit the Hotel, but continues to be injured in that she is

unable to and continues to be discriminated against due to the architectural barriers which remain at the

Hotel in violation of the ADA. Swann has now and continues to have reasonable grounds for believing

that she has been and will be discriminated against because of the Defendant's deliberate and knowing

violations of the ADA.


          10.       Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department of


Justice, Office of the Attorney General, promulgated Federal Regulations to implement the requirements

oftheADA28C.F.R. Part 36.


          11.      Barclay Towersis in violation of 42 U.S.C. § 12181 et.seqand 28 C.F.R. § 36.302 et seq.,


and are discriminating against the Plaintiff as a result of inter alia, the Plaintiff personally encountered


the following specific barriers to access:


   i.           Both the accessible parking spaces and access aisles are too narrow so the Plaintiff

                was unable to use the accessible parking provided without risk of being blocked from

                re-entering her vehicle in the event someone parked in the adjacent space;

    ii.         The Plaintiff was unable to access a guestroom because of numerous barriers to her

                use and access, including (and specifically with regard to guest room #224:



                a) The entrance/exit door to the guestroom is too narrow for a wheelchair user;

                b) The guestroom dining table is not accessible;

                c) The microwave, dishes, glasses and silverware are out of reach for a wheelchair

                user;


                d )There are no grab bars provided at the water closet in the guestroom's bathroom;

                e) The hardware on the guest room's lavatory requires tight grasping and/or twisting

                of the wrist to operate;
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               f) The pipes under the lavatory in the guest room are not insulated;

               g) The water closet in the guestroom is too close to the side wall;

               h) The hair dryer in the guestroom is out of reach range for a wheelchair user;

               i) There is no roll-in shower provided in the guestroom;

               j) There arc no grab bars provided in the guest room's shower;

               k) Upon information and belief, there are an insufficient number of accessible guest

               rooms and accessible guest rooms with roll-in showers;




         12.      There are other current violations of the ADA at the Hotel owned and/or operated by

Barclay Towers which are not specifically identified herein as the Plaintiff is not required to engage in a

futile gesture pursuant to 28 C.F.R. Part 36, § 36.501 and, as such, only once a full inspection is

performed by Plaintiff or Plaintiffs representatives can all said violations be identified.

         13.      To date, the barriers to access and other violations of the ADA still exist and have not

been remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

         14.       Pursuant to the ADA, 42 U.S.C. § 12101 et. seq.. and 28 C.F.R. § 36.304, Barclay

Towers     was required to make the subject property, a place of public accommodation, accessible to

persons with disabilities by January 28, 1992. To date, Barclay Towers has failed to comply with this

mandate.


         15.      The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have her reasonable attorney's fees, costs and expenses

paid by Barclay Towers pursuant to 42 U.S.C. § 12205.


         16.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant Plaintiffs

injunctive relief, including an order to alter the subject facility to make it readily accessible to, and

useable by, individuals with disabilities to the extent required by the ADA, and closing the subject

facility until the requisite modifications are completed.


         WHEREFORE, the Plaintiff demands judgment against Barclay Towers and requests the

following injunctive and declaratory relief:
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          A.    That   the    Court   declare   that   the   property   owned   and
                administered by Barclay Towers is violative of the ADA;


          B.    That the Court enter an Order directing Barclay Towers         to
                alter the subject facility to make it accessible to and usable by
                individuals with disabilities to the full extent required by Title
                III of the ADA;


          C.    That the Court enter an Order directing Barclay Towers           to
                evaluate and neutralize its policies, practices and procedures
                toward persons with disabilities, for such reasonable time so
                as to allow them to undertake and complete corrective
                procedures;


          D.    That the Court award reasonable attorney's fees, costs
                (including expert fees) and other expenses of suit, to the
                Plaintiff; and


          E.    That the Court award such other and further relief as it deems
                necessary, just and proper.



    Dated: March 26,2012         Efcspectfullylsubmitted,



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